              Case 3:21-md-02981-JD Document 91 Filed 08/28/21 Page 1 of 18

   Karma M. Giulianelli (SBN 184175)                             Paul J. Riehle (SBN 115199)
 1 karma.giulianelli@bartlitbeck.com                             paul.riehle@faegredrinker.com
   BARTLIT BECK LLP                                              FAEGRE DRINKER BIDDLE & REATH
 2
   1801 Wewetta St., Suite 1200                                  LLP
 3 Denver, Colorado 80202                                        Four Embarcadero Center, 27th Floor
   Telephone: (303) 592-3100                                     San Francisco, CA 94111
 4                                                               Telephone: (415) 591-7500
   Hae Sung Nam (pro hac vice)
 5 hnam@kaplanfox.com                                            Christine A. Varney (pro hac vice)
   KAPLAN FOX & KILSHEIMER LLP                                   cvarney@cravath.com
 6 850 Third Avenue                                              CRAVATH, SWAINE & MOORE LLP
   New York, NY 10022                                            825 Eighth Avenue
 7 Tel.: (212) 687-1980                                          New York, New York 10019
                                                                 Telephone: (212) 474-1000
 8
   Co-Lead Counsel for the Proposed Class in In re
 9 Google Play Consumer Antitrust Litigation                     Counsel for Plaintiff Epic Games, Inc. in Epic
                                                                 Games, Inc. v. Google LLC et al.
10 Steve W. Berman (pro hac vice)
   steve@hbsslaw.com                                             David N. Sonnenreich (pro hac vice)
11 HAGENS BERMAN SOBOL SHAPIRO LLP                               dsonnenreich@agutah.gov
   1301 Second Ave., Suite 2000                                  OFFICE OF THE UTAH ATTORNEY
12 Seattle, WA 98101                                             GENERAL
   Telephone: (206) 623-7292                                     160 E 300 S, 5th Floor
13                                                               PO Box 140872
   Eamon P. Kelly (pro hac vice)                                 Salt Lake City, UT 84114-0872
14 ekelly@sperling-law.com                                       Telephone: 801-366-0260
15 SPERLING & SLATER P.C.
   55 W. Monroe, Suite 3200                                      Counsel for Utah
16 Chicago, IL 60603
   Telephone: 312-641-3200                                       Brian C. Rocca (SBN 221576)
17                                                               brian.rocca@morganlewis.com
   Co-Lead Counsel for the Proposed Class in In re               MORGAN, LEWIS & BOCKIUS LLP
18 Google Play Developer Antitrust Litigation and                One Market, Spear Street Tower
   Attorneys for Pure Sweat Basketball, Inc.                     San Francisco, CA 94105-1596
19                                                               Telephone: (415) 442-1000
   Bonny E. Sweeney (SBN 176174)
20 bsweeney@hausfeld.com                                         Daniel M. Petrocelli, Bar No. 97802
   HAUSFELD LLP                                                  dpetrocelli@omm.com
21                                                               O’MELVENY & MYERS LLP
   600 Montgomery Street, Suite 3200
22 San Francisco, CA 94104                                       1999 Avenue of the Stars, 7th Fl.
   Telephone: (415) 633-1908                                     Los Angeles, CA 90067-6035
23                                                               Telephone: (310) 553-6700
   Co-Lead Counsel for the Proposed Class in In re
24 Google Play Developer Antitrust Litigation and                Counsel for Defendants Google LLC et al.
   Attorneys for Peekya App Services, Inc.
25

26 [Additional counsel appear on signature page]

27

28



                                       JOINT STATEMENT RE: CASE SCHEDULE
            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
             Case 3:21-md-02981-JD Document 91 Filed 08/28/21 Page 2 of 18


 1                                 UNITED STATES DISTRICT COURT

 2                             NORTHERN DISTRICT OF CALIFORNIA
 3
                                        SAN FRANCISCO DIVISION
 4

 5
     IN RE GOOGLE PLAY STORE
 6   ANTITRUST LITIGATION                                     Case No. 3:21-md-02981-JD

 7   THIS DOCUMENT RELATES TO:                                JOINT STATEMENT RE: CASE
 8                                                            SCHEDULE
     Epic Games Inc. v. Google LLC et al., Case
 9   No. 3:20-cv-05671-JD                                     Judge: Hon. James Donato

10   In re Google Play Consumer Antitrust
     Litigation, Case No. 3:20-cv-05761-JD
11

12   In re Google Play Developer Antitrust
     Litigation, Case No. 3:20-cv-05792-JD
13
     State of Utah et al. v. Google LLC et al., Case
14   No. 3:21-cv-05227-JD
15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                          1
                                     JOINT STATEMENT RE: CASE SCHEDULE
          Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
                  Case 3:21-md-02981-JD Document 91 Filed 08/28/21 Page 3 of 18




 1          Pursuant to this Court’s Order dated July 22, 2021 (In re Google Play Store Antitrust

 2   Litigation, No. 3:21-md-02981-JD (N.D. Cal. 2021) (“MDL”) ECF No. 67), the parties in the

 3   above-captioned MDL action (“the Parties”), by and through their undersigned counsel, submit

 4   this Joint Statement regarding the Parties’ proposed case schedule.

 5           I.     JOINT STATEMENT OF THE PARTIES

 6          The Parties have exchanged proposals and met and conferred regarding a revised

 7   proposed schedule for these cases but have been unable to reach agreement. The different

 8   Plaintiffs in these cases – Epic, Consumer Plaintiffs, Developer Plaintiffs, and the State of Utah
 9   and its co-plaintiff States, Commonwealths, and Districts (collectively the “States”) – have been

10   able to reach agreement among themselves, and so consequently there are only two competing

11   proposals regarding the schedule: Plaintiffs’ proposal (see page 4) and Google’s proposal (see

12   page 11). The Parties are not far apart on the proposed date for a trial, but there are differences

13   between the interim dates proposed by each side, which are addressed below. One area where

14   the Parties are in agreement, however, is that an April or May 2022 trial is not feasible due to

15   various factors. Plaintiffs therefore propose a trial date in September 2022; Google proposes a

16   trial date in October 2022.

17          The Parties recognize that at this time it is difficult to predict how the various cases and

18   parties will be situated at time of trial. Accordingly, the Parties propose that a firm trial structure

19   be submitted closer to the trial date. Plaintiffs and Google address this topic in their respective

20   sections below.

21           II.     PLAINTIFFS’ SCHEDULE PROPOSAL

22          Plaintiffs have worked hard to agree upon one unified, coordinated schedule across all of

23   the different plaintiff groups that balances and accommodates their different circumstances.

24   Plaintiffs believe that the Parties can and should work together to be “trial ready” by September

25   2022. The States note, however, that they have not yet received any discovery in this case and

26   have had only limited substantive discussions with the other Parties. This is in part because

27   modifications to the existing Protective Order to address state law issues (e.g., freedom of

28
                                                             2
                                        JOINT STATEMENT RE: CASE SCHEDULE
             Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
               Case 3:21-md-02981-JD Document 91 Filed 08/28/21 Page 4 of 18




 1   information laws), though underway, need to be completed by the Parties and approved by the

 2   Court before confidential documents can be produced. The States anticipate receiving all

 3   existing discovery in the case soon after the modified Protective Order is approved and will use

 4   all reasonable efforts to meet the schedule. However, while the States and Google began the

 5   Rule 26(f) process on August 10, there remain significant differences of opinion as to the nature

 6   of the States’ action and the appropriate scope of discovery that Google may request, which

 7   could significantly alter the proposed deadlines.

 8          While Plaintiffs recognize the benefit of a unified and coordinated pretrial schedule across
 9   the different cases, they also recognize that at this time, it is hard to predict how the various cases

10   and parties will be situated closer to trial. For that reason, Plaintiffs respectfully request that the

11   issue of the precise format and structure of the trial(s) across these coordinated actions be deferred

12   until a date closer to the “trial ready” date, when the Parties and the Court will have a better sense

13   of how the cases are developing and of whether there are issues or factors that are present or may

14   arise that militate toward or against proceeding in a certain way. Specifically, Plaintiffs propose

15   that the Court set a date certain—which Plaintiffs respectfully submit should be in the spring or

16   early summer of 2022—by which the Parties can meet and confer and then submit a statement

17   addressing the issue of trial structure on a more informed basis (including, based upon the progress

18   of the various cases in the interim). Given Google’s suggestions below, however, the Consumer

19   and Developers Plaintiffs note that in their view, any damages phase of their respective trials

20   should be tried to a jury separately—i.e., with separate Consumer Class and Developer Class

21   damage trials. The Developer and Consumer Plaintiffs’ damages claims do not raise common

22   issues—or seek the same damages—so as to warrant joining the damages trials. Here, a separate

23   damages trial for Consumers and Developers is warranted to avoid confusion and prejudice. See

24   Fed. R. Civ. Pro. Rule 42(b) (separate trials or to bifurcate trial can be warranted in order (1) to

25   avoid prejudice, (2) to promote expedition and economy, or (3) to further convenience).

26          A.       Plaintiffs' Proposed Schedule

27          Plaintiffs’ proposed schedule is as follows:
28
                                                             3
                                        JOINT STATEMENT RE: CASE SCHEDULE
             Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
              Case 3:21-md-02981-JD Document 91 Filed 08/28/21 Page 5 of 18




 1
                                          Plaintiffs’ Proposed Schedule
 2
         ACTIVITY                                                    DATE
 3
         Motion to Dismiss                                           September 8, 2021
 4
         Opposition to Motion to Dismiss                             October 15, 2021
 5
         Reply on Motion to Dismiss                                  November 2, 2021
 6
         Hearing on Google Motion to Dismiss                         November 18, 2021
 7
         Substantial Completion of the States’ Document December 17, 2021
 8       Production and Google Document Production in
         response to the States’ Requests
 9
         Final Document Production Deadline for Epic,                December 17, 2021
10       the Class Plaintiffs, and Google
11       Fact Discovery Cut Off                                      March 18, 2022
12       Opening Merits and Class Certification Expert               April 1, 2022
13       Reports

14       Class Certification Motion                                  April 1, 2022

15       Class Certification Opposition With Expert                  May 2, 2022
         Reports
16
         Rebuttal Merits Expert Reports1                             May 27, 2022
17
         Class Certification Reply With Expert Reports               May 27, 2022
18
         Class Certification Expert Discovery Cut Off                May 27, 2022
19
         Class Certification Hearing (including expert               June 11, 2022
20       testimony/hot tubbing if the Court requests)
21       Merits Expert Discovery Cut Off                             June 21, 2022
22       Dispositive and Daubert Motions                             June 24, 2022
23       Opposition to Dispositive and Daubert Motions               July 29, 2022
24       Reply to Dispositive and Daubert Motions                    August 10, 2022
25

26
     1
      In addition, Plaintiffs recognize that there may be a need for a party to submit a reply and have
27   reserved rights for any party to submit a reply expert report.
28
                                                            4
                                       JOINT STATEMENT RE: CASE SCHEDULE
            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
                Case 3:21-md-02981-JD Document 91 Filed 08/28/21 Page 6 of 18




 1        Serve (but not file) Motions in Limine                      August 10, 2022

 2        Expert Hot Tub                                              August 18, 2022

 3        Dispositive Motion Hearing                                  August 18, 2022

 4        Pretrial Filing Date                                        August 24, 2022
 5        Pretrial Hearing                                            September 1, 2022
 6        Liability Trial Ready                                       September 21, 2022
 7          Plaintiffs believe the above proposed schedule achieves trial readiness by all parties in a
 8   way that is both viable and equitable, allowing all parties sufficient time to prosecute their cases
 9   effectively while avoiding unnecessary delays. Google’s proposed schedule, by contrast,
10   achieves neither of these goals; in fact, Google’s proposed schedule introduces unnecessary
11   delay and denies Plaintiffs the necessary time to prosecute their claims.
12          B.       Response to Google’s Proposed Schedule
13          Google’s proposal diverges from Plaintiffs in two meaningful ways.
14           First, Google proposes that the class certification briefing, expert disclosures and hearing
15   all precede all merits expert disclosures and discovery. That is unnecessary. That sequencing
16   will both delay and compress the schedule for merits expert reports – particularly the time
17   between initial reports and rebuttal reports (56 days proposed by Plaintiffs; 14 days proposed by
18   Google).
19          The Consumer and Developer Plaintiffs are working diligently to prepare expert reports
20   for class and merits and believe that a common date for class and merits reports is the most
21   efficient course. Also, in light of the fact that (i) the parties continue to produce relevant
22   documents, (ii) the parties have yet to begin depositions, and (iii) Google has recently produced a
23   vast amount of transactional data, an April 1st deadline for class certification provides sufficient
24   time for Consumer and Developer Plaintiffs to prepare their expert reports in support of class
25   certification.2 There is no reason why those workstreams cannot proceed contemporaneously.
26
     2
      To the extent the Court prefers a sequenced schedule, Consumer and Developer Plaintiffs,
27   taking into account the progress of discovery to date, may be prepared to submit class
28
                                                             5
                                        JOINT STATEMENT RE: CASE SCHEDULE
             Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
               Case 3:21-md-02981-JD Document 91 Filed 08/28/21 Page 7 of 18




 1   Google argues this is intended to mitigate “one-way intervention” problems. However, as

 2   Google recognizes, one-way intervention issues only occur when merits rulings are decided

 3   before issues related to class certification. Plaintiffs’ proposal does not contemplate any merits

 4   rulings before class certification is resolved, and thus does not implicate any “one-way

 5   intervention” problems. See, e.g., Taylor v. FedEx Freight, Inc., No. 1:13-CV-01137-LJO-

 6   BAM, 2015 U.S. Dist. LEXIS 97706, at *7 (E.D. Cal. July 24, 2015) (rejecting defendants

 7   argument that they were at risk of one-way intervention because “plaintiff is not moving for

 8   summary judgment, or any other dispositive ruling prior to class certification. . . Therefore, there
 9   is no risk that the Court will rule on the merits prior to certification”.).

10           Second, and relatedly, Plaintiffs propose a contemporaneous exchange by Plaintiffs and

11   Google of initial and then rebuttal expert reports. Google, by contrast, proposes a sequential

12   disclosure of expert reports, with Plaintiffs going first, Google responding, and Plaintiffs then

13   filing a reply. Google’s proposal would be highly prejudicial to Plaintiffs. Specifically,

14   Plaintiffs’ schedule contemplates that each side will have about two months to respond to the

15   other’s merits expert reports, a necessary window of time in light of the likely significant number

16   of experts, the complexity of their opinions, and the centrality of their opinions to this case. In

17   contrast, Google’s schedule affords Google seven weeks to respond to Plaintiffs’ opening

18   reports, but then allows Plaintiffs only two weeks to respond to Google’s merits expert reports.

19   That compressed, sequential schedule is inequitable and inefficient. And importantly, Google’s

20   proposal of a sequential exchange of expert reports represents a departure from the positions

21   Google itself took previously in proposed schedules it submitted to the Court – including in the

22   Joint Statement re: Case Schedule dated May 27, 2021 filed in this case (ECF No. 46), and the

23   November 6, 2020 Stipulation and Proposed Schedule filed in Epic Games, Inc. v. Google LLC,

24   No. 3:20-cv-05671-JD (N.D. Cal. 2020) (ECF No. 87). Those prior schedules proposed by

25

26   certification expert reports in February at the earliest. Accordingly, Plaintiffs propose the
     following dates for class certification if it is separated from merits expert discovery: February
27   11, 2022, for class certification with expert report; March 11, 2022, for opposition to class
     certification with expert report; and April 1, 2022, for reply with reply expert report.
28
                                                             6
                                        JOINT STATEMENT RE: CASE SCHEDULE
             Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
               Case 3:21-md-02981-JD Document 91 Filed 08/28/21 Page 8 of 18




 1   Google all recognized the efficiency and appropriateness of contemporaneous exchanges of

 2   expert reports – as Plaintiffs continue to propose.

 3          Relying on a 2007 out-of-circuit district court decision, Google claims that its proposed

 4   sequencing of expert reports is “routine practice”. But contemporaneous exchange of reports is

 5   routine in this Court. See, e.g., In re Robinhood Outage Litigation, No. 20-CV-01626-JD, (N.D.

 6   Cal. July 14, 2020) (ECF No. 89). Indeed, “the default provision under the applicable federal

 7   civil rule provides for an initial simultaneous exchange of expert reports unless otherwise

 8   stipulated or ordered.” Aszmus v. Mclnnis, No. 3:14-CV-00166-SLG, 2014 WL 12631868, at *1
 9   (D. Alaska Dec. 8, 2014) (citing Fed. R. Civ. P. 26(a)(2)(D)(i); but see Fed. R. Civ. P. 26

10   advisory committee's note to 1993 amendments, Paragraph (2)). Google’s proposal not only

11   allows Google to “obtain[] an obvious litigation advantage of prepar[ing] [its] expert reports

12   after seeing [Plaintiffs’] first”, Sanchez v. Stryker Corp., No. 210CV8832ODWJCGX, 2012 WL

13   13006186, at *3 (C.D. Cal. Mar. 28, 2012), it also ignores the fact that under the rule-of-reason

14   burden-shifting analysis, Google itself bears the burden of proof with respect to procompetitive

15   justifications for its conduct. FTC v. Qualcomm Inc., 969 F.3d 974, 991 (9th Cir. 2020).

16          III.   GOOGLE’S PROPOSAL

17          Google will be seeking the dismissal of all Complaints on the schedule ordered by the

18   Court and reflected below.

19          In the event the MDL proceeds beyond the pleadings, however, Google proposes below a

20   reasonable case schedule and tentative trial plan. At this early stage of the MDL proceedings,

21   Google has proposed ambitious but realistic deadlines, and a fair and efficient sequencing of case

22   events, consistent with Google’s Seventh Amendment rights and preserving its objections to

23   impermissible one-way intervention. Google respectfully reserves the right to modify its

24   proposal as the MDL advances, based on further feedback from the Court as well as factual and

25   legal developments that may alter the efficiencies and fundamental fairness of any trial plan. In

26   the meantime, Google’s updated proposal reflects the following principles:

27

28
                                                            7
                                       JOINT STATEMENT RE: CASE SCHEDULE
            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
                Case 3:21-md-02981-JD Document 91 Filed 08/28/21 Page 9 of 18




 1          A. October is a reasonable trial date under the current circumstances
 2          Since the parties last submitted a scheduling proposal, events warrant modifications to

 3   the previously proposed case schedule. All parties agree on this point. Google respectfully

 4   proposes a trial in October 2022. Under Google’s proposal, trial would fall approximately two

 5   years after the service of the earliest-filed complaint in the MDL, a reasonable (indeed,

 6   aggressive) timeline for this type of complex, multi-party antitrust action, especially in light of

 7   the recently-added States’ Action. Google’s proposal builds in a reasonable amount of time so

 8   that the parties can complete the various work streams and present matters efficiently to the
 9   Court for decision. Although the parties have made extensive progress on document and data

10   discovery, substantial fact discovery remains, even without consideration of necessary, new

11   discovery directed specifically to the recently-filed States’ complaint (which adds 37 new

12   plaintiff-States to the MDL). In addition, each group of Plaintiffs opted to amend their

13   complaints before any hearing of Google’s motion to dismiss, which necessarily delayed

14   pleadings challenges and impacted the overall case schedule.

15          B. Google proposes a logical sequencing of case events that is consistent with the
               Court’s prior guidance and maximizes pretrial coordination and efficiency.
16
            Google agrees with the Court’s prior guidance:
17
            THE COURT: Now, in terms of a scheduling order, first, the way I like to pace cases is
18          to have fact discovery -- class cert proceedings go before the close of fact discovery. All
            right? So it’s class cert, get through that; close the fact discovery, finish that; then you do
19          your expert discovery, and then you file your dispositive motions and Daubert motions.
20          Oct. 29, 2020 Status Conference Tr. at 7:23-8:4. This approach makes sense because it

21   emphasizes pretrial coordination, a fundamental purpose of MDL proceedings, and it would

22   mitigate issues arising under the “one-way intervention” doctrine (discussed more fully below).

23   Alternative proposals would lead to inefficiencies and unnecessary burdens, such as the service

24   of merits expert reports on different schedules, the filing of dispositive motion papers on

25   different deadlines, and may lead to multiple trials relating to the same conduct and alleged

26   damages.

27

28
                                                            8
                                       JOINT STATEMENT RE: CASE SCHEDULE
            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
              Case 3:21-md-02981-JD Document 91 Filed 08/28/21 Page 10 of 18




 1          C. Google’s proposed sequence for the disclosure of merits expert reports reflects
               standard practice in antitrust and complex litigation, is fully consistent with the
 2             Court’s prior guidance, and is more efficient than concurrent expert disclosures.
 3          Google proposes that the parties sequence the service of expert reports as follows: (1) the

 4   party that bears the burden of proof on a given issue serves its opening expert reports on that

 5   issue; (2) the opposing party or parties then serve rebuttal expert reports; and (3) the party with

 6   the burden of proof then serves rebuttal reports in reply. Not only is seriatim exchange the

 7   “routine practice,” Sandata Techs., Inc. v. Infocrossing, Inc., No. 05 Civ. 09546, 2007 WL

 8   4157163, at *1 (S.D.N.Y. Nov. 16, 2007), it is contemplated by Rule 26 itself. See Fed. R. Civ.
 9   P. 26 Advisory Committee Note to 1993 Amendment (“[I]n most cases the party with the burden

10   of proof on an issue should disclose its expert testimony on that issue before other parties are

11   required to make their disclosures with respect to that issue.”); see also Fed. Judicial Ctr.,

12   Manual on Complex Litigation, Fourth § (2004) (“[T]he party with the burden of proof on an

13   issue should normally be required to disclose its expert testimony on that issue before the other

14   parties.”). This Court has adopted Google’s proposed sequencing in other cases. See, e.g., MDL

15   Scheduling Order at 1, In re Capacitors Antitrust Litig. (No. III), No. 17-md-02801-JD, Dkt. 39.

16   Plaintiffs’ proposal for simultaneous disclosure diverges from this standard practice, and risks

17   prejudice and inefficiency. See, e.g., Plumbers & Pipefitters Local Pension Fund v. Cisco Sys.,

18   Inc., No. C 01-20418 JW, 2005 WL 1459572, at *1-2 (N.D. Cal. June 21, 2005) (rejecting

19   argument that Rule 26 “contemplates a simultaneous exchange of expert disclosures,” noting that

20   “to respond to [Plaintiffs’ experts’] theories, Defendants[’] expert must know of them in

21   advance”). Simply put, seriatim service of expert disclosures ensures that the party bearing the

22   burden focuses on setting forth its showing and it ensures the opposing party knows what it

23   needs to rebut, before it is required to tender its rebuttal. This avoids shadow boxing, it avoids

24   wasted effort and it is consistent with fundamental fairness; that is why it is the convention.

25

26

27

28
                                                            9
                                       JOINT STATEMENT RE: CASE SCHEDULE
            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
              Case 3:21-md-02981-JD Document 91 Filed 08/28/21 Page 11 of 18




 1          D. Any trial should be after the class certification and coordinated dispositive
               motions are decided, and should be tried together (both on liability and
 2             damages) before the same jury.
 3          Although it is early in the MDL proceedings -- the pleadings are not yet settled and

 4   substantial discovery remains -- at this stage Google supports the Court’s statement to not try

 5   “the same liability questions more than once.” MDL ECF No. 67 at 2. Google has therefore

 6   proposed a schedule that at this time contemplates a consolidated trial before a single jury. Such

 7   a trial could proceed, subject to considerations of efficiency and fairness, with liability addressed

 8   first, and then, only if needed, damages addressed in a subsequent phase heard by the same jury.
 9   At this stage, Google is concerned that permitting separate juries to consider liability and

10   damages would be inefficient and potentially prejudicial. Moreover, any determination of

11   equitable remedies could be efficiently addressed -- again, only if necessary -- by the Court

12   following the jury proceedings.

13          E. Google objects to any proposal that leads to different juries hearing damages
               claims relating to the same alleged conduct.
14
            It would be inefficient and prejudicial for different juries to hear potentially overlapping
15
     and/or conflicting damages claims purportedly flowing from the same alleged conduct. The
16
     juries may effectively be asked to re-examine and re-decide the same or related damages issues,
17
     leading to collateral estoppel issues and the risk of inconsistent and/or duplicative awards, raising
18
     fundamental fairness and Seventh Amendment concerns. As such, Google’s current position is
19
     that any required damages phase should be coordinated and presented to the same jury.
20
            F. Any case schedule should mitigate “one-way intervention” problems.
21
            The schedule should permit class certification to be addressed first. Merits rulings (e.g.,
22
     whether on dispositive motions or at trial) prior to a decision on class certification and the
23
     opportunity for putative class members to opt in or opt out, create one-way intervention
24
     problems. By permitting class certification to be determined in advance of merit determinations,
25
     the Court ensures that class members receive notice of the action and the opportunity to opt-out
26
     well before the merits of the case are adjudicated; and it ensures that any decision on the merits
27
     is binding on the certified class. Otherwise, defendants are prejudiced because members of a
28
                                                            10
                                       JOINT STATEMENT RE: CASE SCHEDULE
            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
              Case 3:21-md-02981-JD Document 91 Filed 08/28/21 Page 12 of 18




 1   not-yet-certified class can await the Court’s ruling on the merits and either opt in to a favorable

 2   ruling or avoid being bound by an unfavorable one. The doctrine is “one way” because a

 3   plaintiff may not be bound by a decision that favors the defendant, but could decide to benefit

 4   from a decision favoring the class. See, e.g., Villa v. San Francisco Forty-Niners, Ltd., 104 F.

 5   Supp. 3d 1017, 1020 (2015).

 6   Based on those principles, Google proposes the following schedule:

 7
                 ACTIVITY                                              PROPOSAL
 8
                 Motion to Dismiss [set]                               September 8, 2021
 9
                 Opposition to MTD [set]                               October 15, 2021
10
                 Reply re MTD [set]                                    November 2, 2021
11
                 Hearing on MTD [set]                                  November 18, 2021
12
                 Final document productions in response to November 19, 2021
13               RFPs pending as of August 13, 2021
                 (excluding any refresh productions)
14
                 Substantial Completion of States’                     December 17, 2021
15               Document Production and Google
                 Document Production in response to
16               States’ Requests

17               Class Cert Motion With Expert Report                  January 14, 2022
                 Class Cert Opposition Brief With Expert               March 4, 2022
18               Report
19               Class Cert Reply Brief                                March 25, 2022
20               Fact Discovery Cut Off                                March 25, 2022
21               Class Certification Hearing and Expert                April 7, 2022
                 Hot Tub
22
                 Plaintiffs’ Merits Expert Reports                     April 15, 2022
23
                 Google’s Merits Expert Reports                        June 3, 2022
24
                 Plaintiffs’ Merits Reply Expert Reports               June 17, 2022
25

26               Expert Discovery Cut Off                              July 22, 2022

27
                 Dispositive Motions/Daubert                           July 29, 2022
28
                                                            11
                                       JOINT STATEMENT RE: CASE SCHEDULE
            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
              Case 3:21-md-02981-JD Document 91 Filed 08/28/21 Page 13 of 18




 1                Dispositive Motions/Daubert Opposition                August 19, 2022

 2                Dispositive Motion Replies                            September 1, 2022

 3                Dispositive Motion Hearing and Expert                 September 8, 2022
                  Hot Tub
 4                Serve (but not file) Motions in Limine                September 8, 2022
 5                Pretrial Filing Date                                  September 22, 2022
 6                Pretrial Conference                                   October 6, 2022
 7                Trial                                                 October 25, 2022
 8           Google tenders these proposals consistent with its knowledge of the facts and law at this
 9   time. Google is mindful that the MDL proceedings are at an early stage and that circumstances
10   may change over the course of case events. Google believes it may be prudent for the Court to
11   implement a schedule as indicated above, but then reserve any decision on the specific form of
12   trial, whether there will be a single or multiple trials, and the sequencing of trials, later in the
13   case. For example, the Court could enter Google’s proposed schedule and then take up the
14   specifics of the trial plan at a case management conference following an order on Google’s
15   motion to dismiss or after a hearing on class certification.
16           In all circumstances, Google requests that the Court set a reasonable schedule that
17   provides enough time for the discovery required by and of all parties, including the States, and
18   that sequences class certification and dispositive motions before any trial. As the case proceeds
19   and circumstances evolve, Google respectfully requests the further opportunity to update the
20   Court on Google’s position as to the most fair and efficient trial plan.
21          IV.     LEXECON WAIVERS
22           Consumer Class Plaintiffs have reached out to discuss Lexecon waivers with the plaintiffs
23   in the actions transferred by the MDL order and are in the process of trying to secure these
24   waivers. See Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26 (1998).
25

26

27

28
                                                             12
                                        JOINT STATEMENT RE: CASE SCHEDULE
             Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
             Case 3:21-md-02981-JD Document 91 Filed 08/28/21 Page 14 of 18




 1   Respectfully submitted,

 2    Dated: August 27, 2021                            CRAVATH, SWAINE & MOORE LLP
 3                                                        Christine Varney (pro hac vice)
                                                          Katherine B. Forrest (pro hac vice)
 4                                                        Darin P. McAtee (pro hac vice)
                                                          Gary A. Bornstein (pro hac vice)
 5                                                        Timothy G. Cameron (pro hac vice)
                                                          Yonatan Even (pro hac vice)
 6
                                                          Lauren A. Moskowitz (pro hac vice)
 7                                                        Omid H. Nasab (pro hac vice)
                                                          Justin C. Clarke (pro hac vice)
 8                                                        M. Brent Byars (pro hac vice)

 9                                                      FAEGRE DRINKER BIDDLE & REATH LLP
                                                          Paul J. Riehle (SBN 115199)
10

11                                                      Respectfully submitted,

12                                                      By:      /s/ Yonatan Even
                                                                 Yonatan Even
13
                                                                 Counsel for Plaintiff Epic Games, Inc.
14

15

16    Dated: August 27, 2021                            BARTLIT BECK LLP
                                                          Karma M. Giulianelli
17
                                                        KAPLAN FOX & KILSHEIMER LLP
18
                                                          Hae Sung Nam
19

20                                                            Respectfully submitted,
21                                                      By:      /s/ Karma M. Giulianelli
22                                                               Karma M. Giulianelli

23                                                            Co-Lead Counsel for the Proposed Class in
                                                              In re Google Play Consumer Antitrust
24                                                            Litigation
25

26

27

28
                                                            13
                                       JOINT STATEMENT RE: CASE SCHEDULE
            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
           Case 3:21-md-02981-JD Document 91 Filed 08/28/21 Page 15 of 18




     Dated: August 27, 2021                           PRITZKER LEVINE LLP
 1                                                      Elizabeth C. Pritzker
 2
                                                      Respectfully submitted,
 3
                                                      By:      /s/ Elizabeth C. Pritzker
 4                                                             Elizabeth C. Pritzker
 5
                                                            Liaison Counsel for the Proposed Class in
 6                                                          In re Google Play Consumer Antitrust
                                                            Litigation
 7
     Dated: August 27, 2021                           HAGENS BERMAN SOBOL SHAPIRO LLP
 8                                                      Steve W. Berman
                                                        Robert F. Lopez
 9
                                                        Benjamin J. Siegel
10
                                                      SPERLING & SLATER PC
11                                                      Joseph M. Vanek
                                                        Eamon P. Kelly
12                                                      Alberto Rodriguez
13

14                                                    Respectfully submitted,

15                                                    By:      /s/ Steve W. Berman
                                                               Steve W. Berman
16

17                                                             Co-Lead Interim Class Counsel for the
                                                               Developer Class and Attorneys for Plaintiff
18                                                             Pure Sweat Basketball

19

20

21

22

23

24

25

26

27

28
                                                          14
                                     JOINT STATEMENT RE: CASE SCHEDULE
          Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
           Case 3:21-md-02981-JD Document 91 Filed 08/28/21 Page 16 of 18




     Dated: August 27, 2021                           HAUSFELD LLP
 1                                                      Bonny E. Sweeney
 2                                                      Melinda R. Coolidge
                                                        Katie R. Beran
 3                                                      Scott A. Martin
                                                        Irving Scher
 4

 5
                                                      Respectfully submitted,
 6
                                                      By:      /s/ Bonny E. Sweeney
 7                                                             Bonny E. Sweeney
 8                                                             Co-Lead Interim Class Counsel for the
                                                               Developer Class and Attorneys for Plaintiff
 9
                                                               Peekya App Services, Inc.
10

11   Dated: August 27, 2021                           OFFICE OF THE UTAH ATTORNEY
                                                      GENERAL
12                                                      David N. Sonnenreich
13

14                                                    Respectfully submitted,

15                                                    By:      /s/ David N. Sonnenreich
                                                               David N. Sonnenreich
16

17                                                    Counsel for Utah

18
     Dated: August 27, 2021                           MORGAN, LEWIS & BOCKIUS LLP
19                                                      Brian C. Rocca
                                                        Sujal J. Shah
20
                                                        Michelle Park Chiu
21                                                      Minna L. Naranjo
                                                        Rishi P. Satia
22

23                                                    Respectfully submitted,
24
                                                      By:      /s/ Brian C. Rocca
25                                                             Brian C. Rocca

26                                                    Counsel for Defendants Google LLC et al.
27

28
                                                          15
                                     JOINT STATEMENT RE: CASE SCHEDULE
          Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
           Case 3:21-md-02981-JD Document 91 Filed 08/28/21 Page 17 of 18




     Dated: August 27, 2021                           O’MELVENY & MYERS LLP
 1                                                      Daniel M. Petrocelli
 2                                                      Ian Simmons
                                                        Benjamin G. Bradshaw
 3                                                      Stephen J. McIntyre

 4
                                                      Respectfully submitted,
 5

 6
                                                      By:      /s/ Daniel M. Petrocelli
 7                                                             Daniel M. Petrocelli

 8                                                    Counsel for Defendants Google LLC et al.
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                          16
                                     JOINT STATEMENT RE: CASE SCHEDULE
          Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
              Case 3:21-md-02981-JD Document 91 Filed 08/28/21 Page 18 of 18




                                           E-FILING ATTESTATION
 1
                    I, Brian C. Rocca, am the ECF User whose ID and password are being used to file
 2
     this document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the
 3
     signatories identified above has concurred in this filing.
 4

 5                                                                  /s/ Brian C. Rocca
                                                                    Brian C. Rocca
 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                            17
                                       JOINT STATEMENT RE: CASE SCHEDULE
            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
